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October 15, 2019
Hon. Ann Marie Donio, U.S.M.J.
U.S. Courthouse
1 John F. Gerry Plaza
Camden, NJ 08101
Re: Strike 3 Holdings, LLC v.
John Doe subscriber assigned IP address 72.82.149.58
Civil Case No. 1:19-cv-14073-ECR-AMD
Dear Magistrate Judge Donio:

On behalf of the above defendant, we write in reply to plaintiff's opposition to our
Motion to Quash a subpoena served on Verizon Online LLC seeking the name and address of the
subscriber of the IP address identified in the complaint.

Federal Rule of Civil Procedure 45(d)(3)(iv) provides that the court “must quash or
modify a subpoena that subjects a person to undue burden”. “An undue burden exists when the
subpoena is ‘unreasonable or oppressive’.” In re Lazaridis, 865 F.Supp. 2d 521, 524 (D.N.J.
2011). In denying leave to serve a third-party subpoena in a similar case, Magistrate Judge Falk
noted that, when the defendant is only known as an IP subscriber, “the infringer might be
someone other than the subscriber.” Third Degree Films, Inc. v. John Does 1-110, 2013 U.S.

Dist. LEXIS 27273 (D.N.J. 2013). The question before Your Honor, as it was before Magistrate

Judge Schneider in another Strike 3 case, is whether the Federal Rules sanction what is

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essentially a hunting expedition for the real party in interest.

We recognize that Your Honor, as well as other Magistrate Judges in this district, have
repeatedly permitted the discovery sought by plaintiff in this case. However, the routine
acceptance of plaintiff's litigation strategy has been questioned since Judge Lamberth’s opinion
in Strike 3 Holdings, LLC v. Doe, 351 F. Supp. 3d 160, 161, 166 (D.D.C.2018),

In a case pending before Magistrate Judge Schneider, it was noted that the defendant’s
“name and address is not a secret” since it was disclosed in the motion papers filed by defendant
seeking to quash a subpoena to his ISP provider. Strike 3 Holdings. LLC v. John Doe Subscriber
Assigned IP Address 73.160.162.60, Civil No. 18-14114 [E.C.F. Doc. 31] at 4-5. Nevertheless,
the Court noted that “certain issues have come to the top that this Court did not give sufficient
consideration to when it issued its orders” initially permitting the subpoena. Id. [E.C.F. Doc. 30]
T7-7 to 9.'

When the Court explored plaintiff’s litigation strategy, counsel acknowledged that “there
are often going to be circumstances” in which the subscriber is not the infringer. Id. T 20-23 to
21-1.? After reviewing the information sought by the subpoena, plaintiff then undertakes “our
separate investigation” to determine who the likely infringer is. Id. T 21-13 to 16. The Court
appeared troubled by this and asked counsel,

What is the Rule 11 basis for saying in your Complaint...the defendant,

owner of the IP address, or the registered owner, downloaded[?].
724-21 to 24.

 

'This citation refers to the transcript of the hearing before Magistrate Judge Schneider on
May 31, 2019.

Plaintiff is bound by this representation. Fed. R. Evid. 803(d)(1)(C)(2)(C).

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What basis does Strike 3 have to make [the] allegation [that defendant
downloaded, copied, and distributed a complete copy of each of plaintiffs
works without authorization]?
T27-2 to9
If Strike 3 doesn’t know who lives in the residence where this IP
address is, how can it allege in Paragraph 27 that the owner or
registered owner of that IP address was the person who downloads
that copyrighted work.
T29-12 to 15.

In the Complaint before Your Honor, it is alleged that:
4. Defendant is...stealing [plaintiff's] works on a grand scale.

5,...Defendant attempted to hide this theft...

23. Defendant used the BitTorrent file network to illegally download and
distribute Plaintiff's copyrighted motion pictures.

27. Defendant downloaded, copied, and distributed a complete copy of each of
Plaintiff's Works without authorization

30. Defendant’s infringement is continuous and ongoing.

36. Defendant copied and distributed the constituent elements of Plaintiff's Works
using the BitTorrent protocol.

Clearly, plaintiff does not know if any of these allegations have a factual basis. In fact, as
was acknowledged before Magistrate Judge Schneider, these allegations will “often” be found to
be untrue.’ We respectfully submit that the Rule 45 undue burden standard has been met and that
the Motion to Quash should be granted. If, however, the Court disagrees, we ask that any adverse

ruling be stayed to permit the defendant to consider an appeal to the District Court. In any event,

 

3How often this happens is not known. In a similar case more than seven years ago,
“counsel estimated that 30% of the names turned over by ISPs are not those of individuals who
actually downloaded or shared copyrighted material.” Digital Sin, Inc. V. Does 1-176, 279
F.R.D. 239, 242 (S.D.N.Y. 2012).
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we respectfully submit that Your Honor should delay any decision until the Court and all parties
have the benefit of Magistrate Judge Schneider’s “comprehensive opinion” which is to be
rendered “shortly”. See counsel’s letter of October 8, 2019 [E.C.F. No. 12].

Respectfully yours,

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